        Case 1:14-cv-01919-TWT Document 221 Filed 09/21/18 Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


MICHAEL PETERSON, et al.

      Plaintiffs,                                  CIVIL ACTION NO.:
                                                   1:14-cv-01919-TWT
v.

ASPEN WAY ENTERPRISES, INC., et al.

      Defendants.

                STIPULATION OF DISMISSAL WITH PREJUDICE
                         (Pursuant to Fed.R.Civ.P. 41)

      NOW INTO COURT comes undersigned counsel for Plaintiffs, Michael Peterson

and Matthew Lyons, and Defendant, Aspen Way Enterprises, Inc., d/b/a Aaron’s Sales

and Leasing, a franchisee of Aaron’s, Inc., (“Aspen Way”) who seek dismissal with

prejudice of this matter having advised the court that the parties have fully and finally

settled all claims pending in this action.

                            Signatures contained on next page
       Case 1:14-cv-01919-TWT Document 221 Filed 09/21/18 Page 2 of 6




      This 21st day of September, 2018.

                                     HERMAN GEREL, LLP
                                     /s/ Maury A. Herman
                                     MAURY A. HERMAN
                                     (Admitted Pro Hac Vice – Doc[s] 43 and 44)
                                     LA I.D. #6815
                                     Attorney for Plaintiffs, Michael Peterson
                                     and Matthew Lyons
820 O’Keefe Avenue
New Orleans, LA 70113
Tel.: (504) 581-4892
Fax: (504) 561-6024
Email: mherman@hhklawfirm.com

                                     MARSHALL, DENNEHEY, WARNER,
                                     COLEMAN & GOGGIN
                                     /s/ Anthony J. Williott
                                     (signed w/express permission)
                                     ANTHONY J. WILLIOTT, ESQ.
                                     Admitted Pro Hac Vice
                                     PA I.D. #43684
Union Trust Building, Suite 700
501 Grant Street
Pittsburgh, PA 15219
Tel.: (412) 803-1140
Fax: (412) 803-1188
Email: ajwilliott@mdwcg.com
                                              -AND-

                                              NELSON MULLINS RILEY &
                                              SCARBOROUGH, LLP
                                              /s/ Mark Stephen VanderBroek
                                              MARK S. VANDERBROEK, ESQ.
                                              (signed w/express permission)
                                              Georgia ID #724440

                                          2
      Case 1:14-cv-01919-TWT Document 221 Filed 09/21/18 Page 3 of 6




                                          Counsel for Defendant, Aspen Way
                                          Enterprises, Inc., d/b/a
                                          Aaron’s Sales and Leasing, a franchisee of
                                          Aaron’s, Inc.
Atlanta Station
201 17th Street NW, Suite 1700
Atlanta, GA 30363
Tel.: (404) 322-6000
Fax: (404) 322-6321
Email: mark.vanderbroek@nelsonmullins.com




                                      3
       Case 1:14-cv-01919-TWT Document 221 Filed 09/21/18 Page 4 of 6




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


MICHAEL PETERSON, et al.

      Plaintiffs,                                    CIVIL ACTION NO.:
                                                     1:14-cv-01919-TWT
v.

ASPEN WAY ENTERPRISES, INC., et al.

      Defendants.

                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the undersigned has this day electronically filed the

within and foregoing STIPULATION OF DISMISSAL WITH PREJUDICE with the

Clerk of Court using the CM/ECF system, which will automatically send e-mail

notification of such filing to the following attorneys of record:

                                  Andrea S. Hirsch, Esq.
                                  Andrea S. Hirsh, LLC
                                    60 Lenox Pointe
                                   Atlanta, GA 30324

                               Frederick S. Longer, Esq.
                            Levin Fishbein Sedran & Berman
                              510 Walnut Street, Suite 500
                             Philadelphia, PA 19106-3697




                                             4
       Case 1:14-cv-01919-TWT Document 221 Filed 09/21/18 Page 5 of 6




                                John J. Robinson, Esq.
                             Jamieson & Robonson, LLC
                                   P.O. Box 4285
                                 185 West Broadway
                              Jackson, WY 83001-4285

                              Anthony J. Williott, Esq.
                  Marshall, Dennehey, Warner, Coleman & Goggin
                          Union Trust Building, Suite 700
                                  501 Grant Street
                               Pittsburgh, PA 15219

                            Mark S. VanderBroek, Esq.
                           Nekia Hackworth Jones, Esq.
                            Sean Michael Kirwin, Esq.
                   Nelson Mullins Riley & Scarborough, LLP-ATL
                                   Atlantic Station
                                 th
                          201 17 Street NW, Suite 1700
                                Atlanta, GA 30363

This 21st day of September, 2018.

                                    HERMAN GEREL, LLP

                                    /s/ Maury A. Herman
                                    MAURY A. HERMAN
                                    (Admitted Pro Hac Vice)
                                    LA I.D. #6815
                                    Attorney for Plaintiffs, Michael Peterson
                                    and Matthew Lyons
820 O’Keefe Avenue
New Orleans, LA 70113
Tel.: (504) 581-4892
Fax: (504) 561-6024
Email: mherman@hhklawfirm.com




                                         5
       Case 1:14-cv-01919-TWT Document 221 Filed 09/21/18 Page 6 of 6




                       CERTIFICATE OF COMPLIANCE

      Undersigned counsel certify the foregoing document has been prepared with one

of the font and point selections (Times New Roman 14 point) approved by the Court in

Local Rule 5.1(C).

      This 21st day of September, 2018.

                                     HERMAN GEREL, LLP

                                     /s/ Maury A. Herman
                                     MAURY A. HERMAN
                                     (Admitted Pro Hac Vice)
                                     LA I.D. #6815
                                     Attorney for Plaintiffs, Michael Peterson
                                     and Matthew Lyons
820 O’Keefe Avenue
New Orleans, LA 70113
Tel.: (504) 581-4892
Fax: (504) 561-6024
Email: mherman@hhklawfirm.com




                                          6
